

Matter of Polsby (2020 NY Slip Op 05017)





Matter of Polsby


2020 NY Slip Op 05017


Decided on September 17, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 17, 2020

PM-119-20

[*1]In the Matter of Daniel D. Polsby, an Attorney. (Attorney Registration No. 1821776.)

Calendar Date: September 14, 2020

Before: Garry, P.J., Egan Jr., Lynch, Clark and Pritzker, JJ.


Daniel D. Polsby, Fairfax, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Daniel D. Polsby was admitted to practice by this Court in 1982 and lists a business address in Arlington, Virginia with the Office of Court Administration. Polsby now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to this Court's discretion on Polsby's application.
Upon reading Polsby's affidavit sworn to March 11, 2020 and filed March 16, 2020, and upon reading the September 14, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Polsby is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Lynch, Clark and Pritzker, JJ., concur.
ORDERED that Daniel D. Polsby's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Daniel D. Polsby's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Daniel D. Polsby is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Polsby is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Daniel D. Polsby shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








